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                                                                                    February 25, 2021
   The Honorable Pamela K. Chen
   United States District Judge
   United States Courthouse
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201



   Re:    United States v. Jeffrey Webb, et al., 15 Cr. 252 (PKC)


   Dear Judge Chen:

   On behalf of our client, Mr. Jeffrey Webb, we write to respectfully request that his sentencing date,
   currently March 22, 2021, be adjourned for approximately nine months to a date that is convenient
   for the Court.

   I have consulted with Assistant United States Attorney M. Kristin Mace about this request, and
   the government consents to the proposed adjournment.

   Thank you for your consideration.

   Respectfully submitted,

      /s/ Ernie Gao
   Rijie Ernie Gao

   cc:    United States Attorney's Office, Eastern District of New York (by ECF)
